CaSe: 3216-Cr-00135-WHR DOC #Z 111 Filed: 04/04/18 Page: 1 Of 8 PAGE|D #Z 521

AO 2453 (Rev. 09!'17) Judgment in a Criminal Case
Sheet 1

 

 

UNITED STATES DISTRICT COURT

Southern District of Ohio

 

 

 

 

 

UNITED STATES OF AMERICA § JUDGMENT IN A CRIMINAL CASE
V. )
JAMES N|ARR|OTT § Case Number: 3:16cr135
) USM Number: 76320-061
)
) Dennis A. Lieberman
) Defendant’s Aiiomey

THE DEFENDANT:

g pleaded guilty to eount(s) 2

l:i pleaded nolo contendere to eount(s)

which Was accepted by the court.

l:l Was found guilty on count(s)

after a plea of not guilty.

The defendant is adjudicated guilty of these oiTenSeS:

Title & Section Nature of Offense 0ffense Ended Count
18 U.S.C. § 924(c)(1)(A} Brandishing a Firearm During and in Re|ation to a Crime of 1016/2016 2
(ii) and 18 U.S.C. § 2 Vio|enee and Aiding and Abetting

The defendant is sentenced as provided in pages 2 through 8 of this judgment The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

l:i The defendant has been found not guilty en count(s)

El Count(s) 1, 3, 4, and 5 |:| is Ei are dismissed on the motion of the United States.

 

_ _ It is ordered t_hat the defend_ant_must notify the Un_ited States attorney for this district within 30 da s of _any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed l_)y this judgment are fu y paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstancesl

3/30/2018

 

Date of lmposition of Judgment

tim@

Signature of Judge

Wa|ter H. Rice, United States District Judge

 

Name and Title of Judge

4/4/2018

 

Date

CaSe: 3216-Cr-00135-WHR DOC #Z 111 Filed: 04/04/18 Page: 2 Of 8 PAGE|D #Z 522

AO 2458 (Rev. 09/|7) Judgment in Criminal Case
Sheet 2 g lmprisonment

Judgment j Page 2 of 48_

DEFENDANT: JAMES MARR|OTT
CASE NUMBER: 3:16cr135

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term Ofr 106 months consecutive to undischarged terms of imprisonment in C|ark County Common P|eas Court, Doeket No.

07cr114B, Greene County Common P|eas Court, Doeket No. 16cr220, and N|ontgomery County Common Pleas Court,
Docket Nos. 16cr960 and 16er2281(2). lt is the Court's understanding that time spent on the basis of the Writ ad
Prosequendum will be credited to his state time and not against the 106 month sentence imposed herein. The state
sentences are due to expire on June 1, 2019.

m The court makes the following recommendations to the Bureau of Prisons:

See page 3.

The defendant is remanded to the custody of the United States Marshal.

ij The defendant shall surrender to the United States Marshal for this district:

|:| at |:| a.in. |:| p.ni. on

 

|:| as notified by the United States Marshal.

l:l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l:l before 2 p.m. on

 

l:l as notified by the United States Marshai.

l:| as notified by the Probation or Pretrial Services Off'ice.

 

 

 

RETURN
l have executed this judgment as follows:
Dcfendant delivered on to
at , with a certified copy of this judgment
UNrTED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

CaSe: 3216-Cr-00135-WHR DOC #Z 111 Filed: 04/04/18 Page: 3 Of 8 PAGE|D #Z 523

AO 245B (Rev. 091]7) .li.idgment in a Criminal Case
Sheet ZA _ lmprisonment

Judgmentil>age 3 Of 8

DEFENDANT: JAIV|ES MARR|OTT
CASE NUMBER: 3:160r‘l35

RECOMMENDATIONS TO THE BUREAU OF PRISONS

The Court recommends that the defendant receive credit against his state sentences for all time spent locally awaiting
disposition of this case, and that his state sentence completion date of June 1l 2019 be honored by state ochia|s, and that
he receive no credit against his Federa| sentence until released from his state sentences

The Court recommends that the defendant be incarcerated as close to his home in the Dayton, Ohio. area as possible
consistent with his security status.

The Court strongly recommends that the defendant be made eligible for and enrolled in the Bureau of Prisons 500 hour
residential drug treatment program or, if not availab!e, in any other available drug treatment

The Court recommends that the defendant receive any and ai| available Job Training.

The Court recommends that the defendant be enrolled in a class for cognitive behavioral thinking/critical thinking
skills/moral reconation therapy.

The Court recommends that the defendant receive a mental health assessment and, if deemed necessary, counseling.

CaSe: 3216-Cr-00135-WHR DOC #Z 111 Filed: 04/04/18 Page: 4 Of 8 PAGE|D #Z 524

AO 245B (Rev. l)‘~}/l 7) Judgment in a Criminal Case
Sheet 3 j Supervised Release

Judgi'nent' ~Page 4 of 8

DEFENDANT: JAIV|ES IV|ARR|OTT
CASE NUMBER: 3:16Cr135

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised re!ease for a term of :

5 years.

MANDATORY CONDITIONS

]_ You must not commit another federal, state or local crime
You must not unlawfully possess a controlled substance

3. You must refrain from any unlawful use of a controlled substance You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
[] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (checit ifapplrcable)
4_ |:| You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution (check ifcrpphcable)

5. M You must cooperate in the collection of DNA as directed by the probation officer. (check i‘fapplicable)

6. l:l You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, er seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency iri the location where you
reside1 work, are a student, or were convicted of a qualifying offense (check grapplicable)

7_ L`_] You must participate in an approved program for domestic violence (check grapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions On the attached
page.

CaSe: 3216-Cr-00135-WHR DOC #Z 111 Filed: 04/04/18 Page: 5 Of 8 PAGE|D #Z 525

AO 245B (Rev. 09717) Judgment in a Criminal Case
Sheet 3A _ Supervised Release

JudgmentiPage 5 of _ 8

 

DEFENDANTZ JAN|ES MARR|OTT
CASE NUMBER: 3:166r135

STANDARD CONDITIONS OF SUPERVISI()N

As part of your supervised release, you must comply with the following standard conditions of supervision These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame

2. After initially reporting to the probation offiee, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer1 and you must report to the probation officer as instructed

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawfiil type of employment, unless the probation officer excuses you from
doing so. lf you do not have hill-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days iri advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. lf` you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

l0. You must not own, possess, or have access to a firearrn, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific pmpose of causing bodily injury or death to another person such as nunchakus or tasers).

l l. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision

U.S. Probation Off`ice Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions For further information regarding these eonditions, see Overvi'ew ofProbarr'on and Supervi`sed
Release Condr`ti`ons, available at: www.uscourts.gov.

Defendant's Signature Date

 

 

CaSe: 3216-Cr-00135-WHR DOC #Z 111 Filed: 04/04/18 Page: 6 Of 8 PAGE|D #Z 526

AO 245B(Rev. 09/17) Judgment in a Criminal Case
Sheet 3D _ Supervised Release

.ludg'ment_Page 6 of _ 8

DEFENDANT: JAMES MARR|OTT
CASE NUMBER: 3:lBCr135

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant must make himsetf available for substance abuse testing at least once during the first 15 days of
supervision and no fewer than twice thereafter and treatment, in-patient or out-patient, if requested by the probation officer.
The defendant shall make a co-payment for treatment services not to exceed $25.00 per month, which is determined by
the defendant’s ability to pay.

2. The defendant shall seek and maintain employment throughout the period of supervision and/or participate iri a
verifiable, certified vocational services program as directed by the probation officer. Such program may include on the job
training, job readiness training, and skills development training.

3. The defendant shall perform 100 hours of community service with an agency approved in advance by the probation
officer within the first two (2) years of supervision The Court will substitute each hour spent in a verified, certified course of
Job Training forr one hour of Community Service on a 1:1 ratio.

4. The defendant is to report to the Chi|d Support Enforcement Agency within 72 hours of his release to enter into an
adjustmentl if possib|e, and payment plan for his child support arrearage

5. The defendant is to be enrolled in a course of moral reconation/cognitive behavioral therapy/critical thinking skills.

6. The defendant is to establish contact with the Montgomery County Office of Ex-Offender Reentry within 3 calendar days
of beginning supervision for possible enrollment in the Reentry Career A||iance Academy.

7. The defendant is not to drive without a valid driver's |icense.

8. The defendant shall have no contact directly or indirectly with his co-defendants, Andrew Azzalina and Tay|or N. Karas.
The defendant shall have no contact with the victim.

9. The defendant shall make restitution payments on a regular basis, with a plan to be submitted to the Court within 60
days of commencing supervised releasel

10. The defendant is to receive a mental health assessment and counseling, if deemed necessary, in the area of childhood
issues and any other areas the counselor deems necessary, The defendant shall make a co-payment for treatment
services not to exceed $25 per month, which is determined by the defendant’s ability to pay.

CaSe: 3216-Ci’-00135-WHR DOC #Z 111 Filed: 04/04/18 Page: 7 Of 8 PAGE|D #Z 527

AO 2453 (Rev. 09/17) Judgment in a Criminal Case
Sheet 5 _~ Criminal Monetary Penalties

 

Judgn'ient _ Page 7 of 8

DEFENDANT: JAN| ES MARR|OTT
CASE NUMBER: 3216Cr135

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution . . . .
_ _ _ -__ to be paid jointly and severally with
TOTALS $ 100-00 $ 3 $ 6-005-50 coedeferidants, Andrew Azzalina ani
Tay|or N. Karas

l:l The determination of restitution is deferred until H_ . An Amended Judgmem in a Cri'mi'nal Case pro 2450 will be entered
after such determination

[:\ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payment, each pa ee shall receive an approximately ro oitioned ayment, unless specified otherwise in
the priority order or percentage payment column elow_ However, pursuant to 18 .S. . § 3664 1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee 'l`otal Loss** Restitution Ordered Priorify or Percentage
United States District Court Clerk of Courts $6,005.50 100%
TOTALS $ 0.00 5 6,005.50

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than 52,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1‘). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612{g).

[:] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
jj the interest requirement is waived for the |:l fine |:l restitution

[___i the interest requirement forthe [:l fine l:| restitution is modified as follows:

* Justice for Victims of'l`rat`fickin Act of2015, Pub. L. No. l 14-22.
** Findings for the total amount 0 losses are required under Chapters 109A, 1 10, l lOA, and l 13A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, l996.

CaSe: 3216-Ci’-00135-WHR DOC #Z 111 Filed: 04/04/18 Page: 8 Of 8 PAGE|D #Z 528

AO 245B (Rcv. 09/17) Judgmenl in a Criminal Case

Sheet 6 _ Schedulc of Payments

 

JudgmentiPage F§ _ of 8

DEFENDANT: JAMES N|ARR|OTT
CASE NUMBER: 3216Ci'135

SCHE-DULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A

»-1-1

Unless _thc court ha_s expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment All criminal monetary penalties, except those payments ma e

[| Lump sum payment of S 100-00 due immediately, balance due

[:| not laterthan ,or
w iri accordancewith |:| C, |:| D, E E, or |ijelow;or

l:l Payment to begin immediately (may be combined with lj C, l:l D, or |:l F below); or

[:I Payment in equal (e.g., weei'r[y, moiiihi"v. quarrei-ly) installments of S _ over a period of
(e.g., months oi~yem'.r), to commence ___ (e.g,, 30 or 60 days) after the date of this judgment; or

|:l Payment in equal (e.g., weekly, montana qum~ieri'y) installments of S over a period of
(e.g., months oi‘yeai's), to commence _ ii (e.g,, 30 01'60 days) after release from imprisonment to a
term of supervision; or

m Payment during the term of supervised release will commence within 60 (e_g., 30 01-60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

|]( Special instructions regarding the payment of criminal monetary penalties:

lf the defendant, while incarcerated,is working in a non-UN|COR or grade 5 L|N|COR job, the defendant shall pay
$25.00 per quarter toward defendants monetary obligation |f working in a grade ‘l-4 UN|COR job, defendant shall

pay 50% of defendants monthly pay toward defendant's monetary obligation Any change in this schedule shall be
made only by order of this Court. After release from imprisonment,and within 60 days of the commencement of the

term of supervised release,the probation officer shall recommend a revised payment plan to satisfy the balance.

Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

Payments shall be applied in the following order1 ( l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine

Joint and Several

Defendant and Co-Defendant Names_ and Case Nurnbers (including defendant numbei), Total Amount, Joint and Several Arnount,
and corresponding payce, if approprlate.

Andrew Azzalina, 16cr135(2)
Tay|or N. Karas, 16cr‘l35(3)

The defendant shall pay the cost of prosecution
The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:

interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

through the Federal Bureau of Prisons’ lnmate

